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                      EXHIBIT A
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

                            Belin, et. al.                                     )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      0:19-cv-61430-SINGHAL/Valle
         Health Insurance Innovations, Inc., et al.                            )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:       Records Custodian, International Benefits Administrators, c/o its Registered Agent, Cogency Global, Inc., 115
                                   North Calhoun Street, Suite 4, Tallahassee, Florida 32301
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:
Your tracking of claims made by customers of VitalaCare Limited Benefit Medical and Health Choice Plus Limited Benefit
Medical insurance.
 Place: Levine Kellogg Lehman Schneider + Grossman LLP                                 Date and Time:
           201 S. Biscayne Blvd., 22nd Floor, Miami, FL 33131                                            04/24/2020 12:00 pm

          The deposition will be recorded by this method:                     Stenographic.

       ✔
       u Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Exhibit A.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/25/2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                          /s/Alexander G. Strassman
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Elizabeth Belin et al
                                                                        , who issues or requests this subpoena, are:
Alexander Strassman, Esq., LKLSG, 201 S. Biscayne Blvd., 22nd Floor, Miami, FL 33131, ags@lklsg.com,
305-403-8788
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                   EXHIBIT A

                                              DEFINITIONS

           The following list of definitions shall apply, and be used and referenced by the person

   complying with this discovery request solely for the purposes of answering this Subpoena Request

   for Production of Documents:

           1.      “You” or “Your” means International Benefits Administrators, LLC and each of

   its subsidiaries, affiliates, and successors.

           2.      “Action” means this action captioned Belin v. Health Insurance Innovations, Inc.,

   S.D. Fla. Case No. 0:19-cv-61430-Singhal/Valle.

           3.      “Second Amended Complaint” refers to the Second Amended Complaint filed in

   this Action on January 24, 2020.

           4.      “Communication” means the transmittal of information, in the form of facts,

   ideas, inquiries, or otherwise, including Documents, emails, correspondence, recorded telephone

   calls, packages, conversations, meetings, discussions, telegrams, telexes, telecopies, seminars,

   conferences, messages, notes, emails, and memoranda. As defined herein, “Communication”

   shall include any Document, and apply to the use of any medium, including text or social media

   messaging or chat platform or service, such as Facebook, LinkedIn, Twitter, iMessage, WhatsApp,

   Blackberry Instant Messenger, and Gmail chat.

           5.      “Health Insurance Innovations” or “HIIQ” means Health Insurance

   Innovations, Inc. and anyone acting on its behalf.

           6.      “Health Plan Intermediaries” or “HPIH” means Health Insurance Intermediaries

   Holdings, LLC and anyone acting on its behalf.

           7.      “VitalaCare Plan” means VitalaCare Limited Benefit Medical insurance

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   underwritten by Lifeshield National Insurance Co.

          8.      “Health Choice Plus Plan” means Health Choice Plus Limited Benefit Medical

   insurance underwritten by American Financial Security Life Insurance Co.

          9.      “Document” means the original, any non-identical copy or draft, and, if applicable,

   both sides of any writing or recording of whatever nature, whether written, typed, printed,

   photocopied, filmed, videotaped, or mechanically or electronically sorted or recorded, whether

   prepared by Defendants or any other person, and is in Defendants’ possession, custody, or control.

   Without limiting the foregoing, “Document” includes correspondence, memoranda, faxes, emails,

   reports, notes, minutes, or records of telephone conversations, meetings, or conferences, diaries,

   logs, calendars, calendar notes, accounting records, financial statements,        books of account,

   vouchers, invoices, bills, computer tapes, diskettes, electronically stored information or print-outs,

   writings, drawings, graphs, charts, photographs, phono-records, videotape recordings, and data

   compilations from which information can be obtained or translated. The term shall be given the

   broadest meaning possible under any applicable rules, and shall include information stored in, or

   accessible through, computer or other information retrieval systems, together with instructions and

   all other materials necessary to use or interpret such data compilations.

          10.     “Identify,” when used with respect to an individual, animal, or entity, means to

   state the name of that person. “Identify,” when used with respect to a Document, means to state

   the date of the Document, the author(s) and recipient(s) of the Document, and the subject matter

   of the Document.

          11.     The words “Person” and “Individual” shall mean any natural person,

   proprietorship, partnership, corporation, association, organization, joint venture, business trust, or

   other business enterprise, governmental body or agency, or governmental, public, legal, or


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   business entity, or group of natural persons or entities, whether sui juris or otherwise.

          12.     “Class Plaintiffs” refers to Elizabeth E. Belin, Christopher Mitchell, Kevin

   Furman, Michell Kirby, Gabrielle Watson, Kathryn Svenson, Jesse Manley, and Randall

   Spitzmesser.

          13.     “Regarding,” “Related to,” “Relating to,” and “Pertaining to” include, but are

   not limited to, anything concerning, arising out of, or evidencing the subject of the Request.

          14.     The terms “And” and “Or” shall be both conjunctive and disjunctive; the term

   “Including” means “including without limitation;” and “Each,” “Any,” and “All” mean “each

   and every.”

                                            INSTRUCTIONS

          1.       Each of the Requests seeks all Documents, wherever located, which are in Your

   possession, custody, or control, or in the actual or constructive possession, custody, or control of

   You or any of Your affiliates or present or former attorneys, agents, representatives, advisors, or

   employees, as well as any third-party service providers with which You have an account, including,

   for example, telephone and cable carriers, Internet service providers, email carriers,       banks,

   insurance companies, or any other institution with which You have an account and the right to

   access Your account records.

          2.       If You believe that any person or entity might have possession, custody, or control

   of any Document that is not within Your custody or control but is otherwise responsive to any part

   of the Requests, You shall so state and shall identify the person or entity that You believe might

   have custody or control of that Document.

          3.       You shall produce all Documents in the order and manner that they are kept in the

   usual course of business. You shall produce all physical Documents in their original folders,


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   binders, covers, or containers (or You shall provide properly sequenced photocopies thereof).

             4.    Documents produced shall be organized so that the files in which they were located

   can be ascertained, as well as their relative order in such files and how such files were maintained.

   Electronically stored information shall be produced in the same electronic form as it exists in Your

   computers, original files, or other storage media, and the production shall preserve the integrity of

   the underlying electronically stored information, i.e., the original formatting, email header and

   family information, and the revision history.          Metadata shall be included with      all files.

   Spreadsheet files such as those created using the Microsoft Excel software application,          and

   database files such as those created using the Microsoft Access or QuickBooks software

   application, shall be produced in native format.

             5.    Any Document that is attached electronically or physically, by staple, clip or

   otherwise, to a Document requested herein shall also be produced (attached in the same manner

   as the original) regardless of whether the production of that Document is otherwise requested

   herein.

             6.    If You have no Documents that are responsive to a Request, You shall so state.

             7.    You shall respond to the Requests reasonably and not strain to interpret them in an

   artificially restrictive manner to avoid disclosure of relevant and non-privileged Documents. You

   shall not produce Documents in a manner designed to hide or obscure the existence of particular

   Documents, or to accomplish any other improper purpose. You shall base Your               discovery

   objections on a good-faith belief in their merit and shall not object solely for the purpose of

   withholding or delaying the disclosure of relevant information, or for any other improper purpose.

             8.    Unless otherwise specified below, the time period of these Requests is from

   January 1, 2013 through the present.


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          9.       All Requests for Documents include email communications found in any mailbox,

   including but not limited to personal mailboxes.

                                   DOCUMENTS TO BE PRODUCED

          1.       Documents sufficient to show all claims for benefits made by or for any of the
   Class Plaintiffs in connection with their VitalaCare Plan purchased through HIIQ and/or HPIH.

           2.      Documents sufficient to show all claims for benefits made by or for any of the Class
   Plaintiffs in connection with their Health Choice Plus Plan purchased through HIIQ and/or HPIH.

          3.       Documents sufficient to show all benefits paid on claims made by or for any of the
   Class Plaintiffs in connection with their VitalaCare Plan purchased through HIIQ and/or HPIH.

          4.       Documents sufficient to show all benefits paid on claims made by or for any of the
   Class Plaintiffs in connection with their Health Choice Plus Plan purchased through HIIQ and/or
   HPIH.




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